     Case 1:11-cr-00358-LJO-BAM Document 84 Filed 06/07/12 Page 1 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

 5

 6

 7

 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:11-cr-00358 AWI/DLB
                                        )
12                  Plaintiff,          )
                                        )
13             v.                       )       STIPULATION RE:
                                        )       CHANGE OF PLEA AND ORDER
14   GAUVENCIO MADRIGAL-CHAVEZ,         )
                                        )
15                  Defendant.          )
     ___________________________________)
16

17
           Defendant GAUVENCIO MADRIGAL-CHAVEZ, in the above-captioned
18
     matter, by and through his attorney, and the United States of
19
     America, by and through his attorney, BENJAMIN B. WAGNER, United
20
     States Attorney, and KAREN A. ESCOBAR, Assistant United States
21
     Attorney, hereby enter into the following stipulation:
22
           1.   The parties to the above-captioned matter agree to set
23
     this matter for a Change of Plea on June 25, 2012, at 10:00 a.m.
24
     before Judge Anthony W. Ishii and vacate the 1:00 p.m. Status
25
     Conference before Magistrate Judge Dennis L. Beck for that date.
26
     ///
27

28

                                          1
     Case 1:11-cr-00358-LJO-BAM Document 84 Filed 06/07/12 Page 2 of 2



 1   DATED: June 6, 2012                         Respectfully submitted,

 2                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 3
                                                 By: /s/ Karen A. Escobar
 4                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
 5
                                                  /s/ Patience Milrod
 6                                                PATIENCE MILROD
                                                  Attorney for Defendant
 7                                                Gauvencio Madrigal-Chave

 8
                                   O R D E R
 9
          Having read and considered the foregoing stipulation,
10
          IT IS THE ORDER of the Court that this matter shall be set
11
     for a Change of Plea on June 25, 2012, at 10:00 a.m. and the 1:00
12
     p.m. Status Conference on that date shall be vacated.
13

14   IT IS SO ORDERED.
15
     Dated:       June 7, 2012
16   0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
17

18

19

20

21

22

23

24

25

26

27

28

                                          2
